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                                                      RETURN SERVICE ONLY
                                                      Please do not send mail to this address
                                                      P.O. Box 24610
                                                      Oklahoma City, OK 73124-0610


November 7, 2017


MARIA T RODRIGUEZ
C/O SHANNON KEITH TURNER
PO BOX 2067,
ORLANDO        FL 32802



                                                              Re: Loan Number:         9804098003
                                                              Property Address:        1422 CANAL POINT ROAD
                                                                                       LONGWOOD          FL 32750


Dear MARIA T RODRIGUEZ:

Caliber Home Loans, Inc. (“Caliber”) would like to inform you that your loan qualifies for our Graceful Exit Deed-
in-Lieu Program. During these trying times, this Program is another option for you to consider regarding your
home. There are benefits to completing a deed-in-lieu including: (1) the home does not go to foreclosure sale,
which may have a more adverse effect on your credit profile, and (2), you get relief by resolving your debt for
good.

For a limited time only, Caliber is offering the following incentive:

         $17,500.00; Incentive monies will be used to assist you in clearing liens and judgments.
         Incentive monies exceeding liens and judgments are paid to you by check upon successful
         completion of the deed-in-lieu.

I am standing by to discuss this unique opportunity with you. I can be reached at 866-650-0968 between the
hours of 8:00 a.m. to 7:00 p.m. Central Time, Monday through Friday, excluding federal holidays.

Hurry, this offer expires 15 days from the date of this letter. A complete Deed-in-Lieu application must be
received by the offer expiration in order to be eligible for the incentive.

Please note: this incentive offer will be rescinded immediately if the foreclosure sale date on the above
referenced property is scheduled.


Sincerely,

Guadalupe Martin
Property Solutions Department
Caliber Home Loans, Inc.

The cash payment will be sent at the time the deed-in-lieu is deemed completed. Please take note that
forgiveness of debt may have adverse credit and legal consequences and may result in taxable income
to you. You are advised to seek advice from an attorney, certified public accountant or other tax
professional regarding potential consequences of any debt forgiveness pursuant to this agreement.
Caliber Home Loans, Inc. does not provide any tax advice.

Notice to FHA Customers: DIL transactions are reported to the Credit Alert Interactive Voice Response
System (CAIVRS) which may result in your inability to obtain government financing or other
government benefits for a certain period of time.

Note: There is no guarantee that you will qualify for a particular foreclosure alternative. Foreclosure activity will
not cease until a foreclosure alternative agreement has been approved.
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THIS IS AN ATTEMPT BY A DEBT COLLECTOR TO COLLECT A DEBT AND ANY INFORMATION
OBTAINED WILL BE USED FOR THAT PURPOSE.

Notice to Consumers presently in Bankruptcy or who have a Bankruptcy Discharge: If you are a debtor
presently subject to a proceeding in Bankruptcy Court, or if you have previously been discharged from
this debt by a Federal Bankruptcy Court, this communication is not an attempt to collect a debt but is
sent for informational purposes only or to satisfy certain Federal or State legal obligations.

Pursuant to section 169 of the Housing and Community Development Act of 1987, you may have the
opportunity to receive counseling from various local agencies regarding the retention of your home. You
may obtain a list of the HUD-approved housing counseling agencies by calling the HUD nationwide toll free
telephone number at (800) 569-4287or by visiting www.hud.gov/offices.




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